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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION AT LONDON
NFINITYLINK COMMUNICATIONS, INC.,

               PLAINTIFF,

v.                                                       CIVIL ACTION NO. 6:20-CV-00208-
                                                         KKC
THE CITY OF MONTICELLO, KENTUCKY
AND THE CITY COUNCIL OF THE CITY                         ELECTRONICALLY FILED
OF MONTICELLO, KENTUCKY

               DEFENDANTS.

                          AGREED ORDER OF DISMISSAL

       Pursuant to a confidential settlement agreement by and between NfinityLink

Communications, Inc., the City of Monticello, Kentucky, and the City Council of the City of

Monticello, Kentucky, and as evidenced by the signatures of counsel appearing below, the parties

hereto agree to the dismissal, with prejudice, of all claims in this case. Therefore, the Court hereby

orders that all claims herein are DISMISSED WITH PREJUDICE, with all costs and expenses

related to this litigation to be solely borne by the party incurring same.

                        21stday of March 2022.
       So ordered this ____

Have Seen and Agreed to be Entered:

/s/ William L. Montague, Jr.                           /s/ Drake W. Staples
William L. Montague, Jr.                               Drake W. Staples
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